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      GOVERNMENT
        EXHIBIT 2
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         FD-I004                                                            FEDERAL BUREAU OF INVESTIGATION
       Rev. 10-13-2020
                                                                                   EVIDENCE CHAIN OF CUSTODY

    Evidence      Type:         o    General                o   Drugs              o      Firearms     Weapon            Item #
                                [2] Digital                 o   Valuables

   Special Handling Instructions                                                                Initial'Receipt                                                                                    Date and
                                                                                                                                                    J                      /)
                                                                                                                                                                                                   Time
    DHAZMAT                                   0 Latents                 o   FGJ                 Signature     of Seizin" 1::1 Individua'i:!..1'~
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   o
                                                                                                                                                                                        rV(/-
                                                                                                                                                                                                  4/16/2021
          Req. Charging                       0 Freeze                  o   Refrigerate         Printed Name/Agency:                 Jeffrr;03 . alstonlFBI
                                                                                                                                                   ~;JO:       ,       -
                                                                                                                                                                                                  8:35 am
   o      Biohazard                                                                             Reason:      Initial Collection
   o      Other                                                                                 Collected     By:        Jeffrey B. Ralston
                                                                                                                                                                       \



                                                                                                Agency:       FBI
   Relinquished Custody                                                              Date and           Aceepted Custody"                                                                         Date and
                  ~                                .....•                            Time                                                                                       .•....I'{-        Time
   SignatUl£          .J ?//~~$/k~~                                                 4116/2021           Signature:           t]~                                                '" 'J
                                                                                                                                                                                                7 Ii 2021
   Printed #/A'(~y:                 Jeffrey B./RalstonIFBI                          ;;:/,O              Printed Narne/AgencY'                     H.,u •• :. .•••... Si1191t-l- 1:)1
   Reason:      To ECC                                                                  /!t'Yi          Reason:                                  Storage                                          J-'~O
   Relinquished Custody                                                              Date and           Accepted Custody                                                                          Date and
                                                                                     Time                                                                                                         Time
   Signature:                                                                                           Signature:
   Printed Name/Agency:                                                                                 Printed Name/Agency:
   Reason:                                                                                              Reason:
   Relinquished Custody                                                              Date and           Accepted Custody                                                                          Date and
                                                                                     Time
                                                                                                                             "                                     -                              Time
   Signature:                                                                                ---        Signature:                                         )


   Printed Name/Agency:                                                                                 Printed Name/Agency:
   Reason:

   Relinquished Custody                                                             Da\eaod
                                                                                            .          Reason:

                                                                                                       Accepted Custody
                                                                                                                                                    .'

                                                                                                                                                                                                  Date and
                                                                                    Time                                                                                                          Time
   Signature:                                                                                          Signature:
  Printed Name/Agency:                                                                                 Printed Name/Agency:
   Reason:                                                                                                           - ~
                                                                                                       Reason:
                                                                                                                                                                   .
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  Relinquished Custody                               -                              Date and           Accepted Custody                                                                           Date and
                                                                                    Time                                                                                                          Time
  Signature:
                                                                                                    ~ 'Signature:
  Printed Name/Agency:                                                                                 Printed Name/Agency:
  Reason:                                                                                              Reason:
  Relinquished Custody                                                              Date and           Aceepted Custody                                                                           Date and
                                                                                    Time                                                                                                          Time
  Signature:                                                                                           Signature:
  Printed Name/Agency:                                                                                 Printed Name/Agency:
  Reason:                                                                                              Reason:


  Firearm       Certification     by (FI/SW AT) / Explosive             Material   Certification        by (SABT):                                         ATF Trace Form Completed:                0
  Printed Name:
                                                                                                                                                           NCIC:   0
  Signature:

  Date:

Case 10:     89B-WF-3377638                                                        IB:          7                             _       Barcode:                                                            _


                                                            Tlrisform is incomplete without reference to the FD-lOB7.
